     Case 2:13-cr-00096-RHW             ECF No. 1025        filed 06/20/16      PageID.3534 Page 1 of 2
PROB 12C                                                                                Report Date: June 17, 2016
(7/93)
                                                                                                         FILED IN THE
                                       United States District Court                                  U.S. DISTRICT COURT
                                                                                               EASTERN DISTRICT OF WASHINGTON


                                                       for the                                  Jun 20, 2016
                                                                                                    SEAN F. MCAVOY, CLERK
                                        Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Steven Edwin Bronowski                   Case Number: 0980 2:13CR00096-RHW-9
 Address of Offender:
 Name of Sentencing Judicial Officer: The Honorable Robert H. Whaley, Senior U.S. District Judge
 Date of Original Sentence: October 24, 2013
 Original Offense:        Conspiracy to Commit Bank Fraud, 18 U.S.C. § 1349
 Original Sentence:       Prison - 6 months;                Type of Supervision: Supervised Release
                          TSR - 60 months

 Revocation               Prison - 12 months;
 Sentence:                TSR - 48 months

 Revocation               Prison - 7 months
 Sentence:                TSR - 41 months
 Asst. U.S. Attorney:     Aine Ahmed                        Date Supervision Commenced: October 2, 2015
 Defense Attorney:        Richard D. Wall                   Date Supervision Expires: March 1, 2019


                                         PETITIONING THE COURT

                To incorporate the violation(s) contained in this petition in future proceedings with the
violation(s) previously reported to the Court on 12/22/2015 and 12/29/2015 and request a SUMMONS.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

           5            Special Condition # 17: You shall reside in a residential reentry center (RRC) for a period
                        of up to 180 days. You shall abide by the rules and requirements of the facility and shall
                        participate in programs offered by the facility at the direction of the supervising officer.

                        Supporting Evidence: On June 16, 2016, the undersigned officer received a voice mail from
                        Mr. Bronowski indicating that he had made the decision to walk away from the Spokane
                        RRC and provided the undersigned officer with his new address. Approximately 5 minutes
                        later the undersigned officer received a voice mail from the director of the Spokane RRC
                        confirming that Mr. Bronowski had left the Spokane RRC against the advice of staff, and
                        that he was subsequently placed on escape status with the facility. Mr. Bronowski reported
                        to U.S. Probation at 0945 hours at which time he admitted to the aforementioned behavior
                        with explanation.
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Prob12C
Re: Bronowski, Steven Edwin
June 17, 2016
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                                     I declare under penalty of perjury that the foregoing is true and correct.
                                                       Executed on:     June 17, 2016
                                                                        s/ Chris Heinen
                                                                        Chris Heinen
                                                                        U.S. Probation Officer



 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [ X]     The Issuance of a Summons
 [ ]      The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
 [ ]      Defendant to appear before the Judge assigned to the
          case.
 [ ]      Defendant to appear before the Magistrate Judge.
 [ ]      Other

                                                                        Signature of Judicial Officer
                                                                               June 20, 2016
                                                                        Date
